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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 DICELLO LEVITT & CASEY LLC,    )
                                )
           Plaintiff,           )
                                )
           v.                   ) Case No. 19 CV 252
                                )
 OBJECTING MINORITY NOTEHOLDERS ) Judge Joan H. Lefkow
 TO THE PROPOSED CONSENT        )
 JUDGMENT BETWEEN THE           )
 CONSUMER FINANCIAL PROTECTION  )
 BUREAU AND THE NATIONAL        )
 COLLEGIATE MASTER STUDENT      )
 LOAN TRUST I and U.S. BANK     )
 NATIONAL ASSOCIATION as        )
 INDENTURE TRUSTEE, et al.,     )
                                )
           Defendants.          )

                                              ORDER

        Defendants Objecting Minority Noteholders’ motion to transfer (dkt. [12]) is granted.
The clerk is directed to transfer this action forthwith to the United States District Court for the
District of Delaware for consolidation with the pending action Consumer Fin. Prot. Bureau v.
The Nat’l Collegiate Master Student Loan Tr., et al., C.A. No. 17-1323-MN. See statement.

                                           STATEMENT

        The Consumer Financial Protection Bureau brought an enforcement action in the United
States District Court for the District of Delaware against several Delaware trusts that hold
billions of dollars of student loans. (Dkt. 3 at 1.) The trusts, through their attorneys McCarter &
English, agreed to a proposed consent judgment with the CFPB in September 2017. (Dkt. 3-1.)
Several parties, including the objecting minority noteholders and U.S. Bank as indenture trustee,
intervened to object to the proposed consent judgment. The District of Delaware permitted these
intervenors to conduct limited discovery into two threshold issues about the proposed consent
judgment:

       1. Whether the law firm of McCarter & English had the authority to execute the
          Proposed Consent Judgment on behalf of the Defendants under the Trust Related
          Agreements and applicable law; and

       2. Whether—authority aside—it was improper or []in violation of Trust Related
          Agreements[] for McCarter & English to enter into the Proposed Consent Judgment.
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(Dkt. 3-2.) The District of Delaware originally imposed a deadline of January 22, 2019 to
complete document discovery on these issues, but the deadline has been extended to March 8,
2019. (Dkt. 19 at 7.)

        The intervenors issued discovery requests, including ten subpoenas across five federal
judicial districts. (Dkt. 13 at 2.) Among those subpoenas was one enforceable in this district, to
DiCello Levitt & Casey LLC, former counsel to the trusts. Like at least one other subpoena
recipient in another judicial district, DiCello filed an action to quash the subpoena, arguing that it
seeks information irrelevant to the two threshold issues. (Dkt. 2.) Another subpoena recipient,
McCarter & English, does not appear to have moved to quash but has consented to transfer any
subpoena-related motions from the enforcement court in the District of New Jersey to the issuing
court in the District of Delaware. (Dkt. 23-1 at 4.) The Objecting Minority Noteholders now
move to transfer DiCello’s motion to Delaware under Federal Rule of Civil Procedure 45(f).
(Dkt. 12.)

        “When the court where compliance is required did not issue the subpoena, it may transfer
a motion [to quash] to the issuing court . . . if the court finds exceptional circumstances.” Fed. R.
Civ. P. 45(f). The committee notes to Rule 45(f) clarify that the court’s “prime concern should be
avoiding burdens on local nonparties subject to subpoenas,” and that the court should not transfer
unless the movant proves that countervailing interests “outweigh the interests of the nonparty
served with the subpoena in obtaining local resolution of the motion.” Id. advisory committee’s
note to 2013 amendments.

         On the other side of the ledger, “transfer may be warranted in order to avoid disrupting
the issuing court’s management of the underlying litigation, as when that court has already ruled
on issues presented by the motion or the same issues are likely to arise in discovery in many
districts.” Id. The Seventh Circuit, too, identifies the “consolidation of motions in a single
appropriate court, thereby avoiding piecemeal litigation in multiple fora as well as piecemeal
appeals” as the purpose of Rule 45(f). P.H. Glatfelter Co. v. Windward Prospects Ltd., 847 F.3d
452, 458 (7th Cir. 2017). Following the advisory committee recommendation, courts regularly
transfer to avoid rulings on the same issues in multiple districts or even the possibility of
multiple rulings. See, e.g., In re Motion to Quash Subpoena Issued to Non-Party JPMorgan
Chase Bank, N.A., No. 1:17-mc-00069-JMS-TAB, 2017 WL 6623060, at *3–4 (S.D. Ind. Dec.
28, 2017) (transferring motion to quash where similar motion was filed in another district); Wultz
v. Bank of China, Ltd., 304 F.R.D. 38, 46–47 (D.D.C. 2014) (transferring motion to quash based
on possibility of similar subpoenas being issued). Indeed, DiCello cites only one case declining
to transfer, and that case did not involve similar discovery motions being litigated across the
country. See, e.g., Extrusion Mach. & Equip., Inc. v. Ameriform Acquisition Co., No. 2:16-MC-
0001-WTL-DKL, 2016 WL 2736008, at *2 (S.D. Ind. May 11, 2016) (declining to transfer
motion to quash single subpoena).

        The court finds that exceptional circumstances warrant transfer. First, “the same issues
are likely to arise in discovery in many districts.” Fed. R. Civ. P. 45(f) advisory committee’s note
to 2013 amendments. DiCello is one of ten subpoena recipients across the country, spanning five
judicial districts. Similar motions to quash have been filed in those actions, and at least one will
likely be transferred from New Jersey to Delaware. This means that as many as five courts may
weigh in on the same motion to quash. This would likely interfere with the issuing court’s
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management of this case because the enforcement courts may reach different results and do so on
different timeframes. P.H. Glatfelter, 847 F.3d at 458 (transfer avoids piecemeal litigation);
Wultz, 304 F.R.D. at 46–47 (holding potential for multiple rulings constitutes exceptional
circumstances). Instead of allowing five courts to address the same issues five times, the single
most interested court—the District of Delaware—should answer them once.

        Second, the District of Delaware “has already ruled on issues presented by the motion.”
Fed. R. Civ. P. 45(f) advisory committee’s note to 2013 amendments. The District of Delaware’s
limitation of discovery to two threshold issues resolved a dispute between the CFPB (who
wanted narrower discovery) and the intervenors (who wanted broader discovery). DiCello argues
in its motion to quash that the subpoena covers more than the threshold issues, but the District of
Delaware is in the best position to determine whether the subpoena hews to that court’s carefully
stricken balance.

         Finally, because of the complexity of the underlying litigation, the District of Delaware is
better positioned to resolve this motion. Although this court cannot assume that the issuing court
“is in a superior position to resolve subpoena-related motions,” Fed. R. Civ. P. 45(f) advisory
committee’s note to 2013 amendments, the court should consider “the complexity, procedural
posture, duration of pendency, and the nature of the issues pending before, or already resolved
by, the issuing court in the underlying litigation.” Judicial Watch, Inc. v. Valle Del Sol, Inc., 307
F.R.D. 30, 34 (D.D.C. 2014).

         The presumption that this court is equally capable of resolving the motion to quash as the
District of Delaware is quickly overcome. The Delaware case is complex, involving millions of
dollars and dozens of parties. Although the pending discovery issues are narrower than the full
scope of the litigation, DiCello’s relevancy and privilege objections implicate some of the
litigation’s complexity. Compare Judicial Watch, 307 F.R.D. at 34–35 (transferring motion to
quash based in part on relevancy to complex litigation), with Extrusion Mach. & Equip, 2016
WL 2736008, at *1–2 (declining to transfer where recipient objected to adequacy of service). For
instance, DiCello argues that communications between DiCello and Boston Portfolio Advisors
(BPA) about the trusts are irrelevant to McCarter & English’s authority and the propriety of the
judgment under the trust-related agreements. Who is BPA? DiCello does not say; this court did
not learn until the Objecting Minority Noteholders explained in their motion to transfer that BPA
performed an audit of the trusts. This court is not on equal footing with the District of Delaware
to determine whether DiCello’s communications with BPA are relevant to the propriety of the
judgment under the trust-related agreements because the trust-related agreements are not in the
record here. The background needed to resolve that objection typifies this court’s anticipated
learning curve where the District of Delaware has none.

         Finally, the considerations above outweigh DiCello’s interest in local resolution. DiCello
undoubtedly has an interest in resolving these issues in Illinois and would be inconvenienced by
transfer to Delaware. But even though DiCello is now a nonparty to the Delaware litigation, it
once was counsel for the trusts in Delaware, reducing the weight of its interest in local
resolution. See Judicial Watch, 307 F.R.D. at 34–35 (considering nonparty’s nationwide
litigation activity to “significantly reduce[]” “the general interest in protecting local nonparties
by requiring local resolution of subpoena-related disputes”). Moreover, DiCello can rely in
Delaware on the briefs it has already filed here, minimizing its need to appear. DiCello likely can
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also appear telephonically, which the advisory committee’s notes to Rule 45(f) encourage the
District of Delaware to allow.



Date: February 19, 2019                            _______________________________
                                                   U.S. District Judge Joan H. Lefkow
